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                                                                           FILED
                     UNITED STATES COURT OF APPEALS                         APR 14 2020

                                                                        MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                        U.S. COURT OF APPEALS




JOSIAH HUNTER,                                  No. 18-35666

               Plaintiff-Appellee,              D.C. No. 2:16-cv-01445-MJP
                                                Western District of Washington,
 v.                                             Seattle

CITY OF FEDERAL WAY; KRIS
DURRELL, Federal Way Police Officer,            ORDER

               Defendants-Appellants.


Before: GRABER, BERZON, and HIGGINSON,* Circuit Judges.

      The parties’ Joint Request to Stay Plaintiff’s pending Petition for Prevailing

Party Fees, Docket Entry No. 54, is GRANTED.




      *
            The Stephen A. Higginson, United States Circuit Judge for the U.S.
Court of Appeals for the Fifth Circuit, sitting by designation.
